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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                       Plaintiff,

 vs                                         Case No.   18-cr-20495
                                            HONORABLE DAVID M. LAWSON

 IBRAHEEM IZZY MUSAIBLI,

                  Defendant.
 ________________________________/


              MOTION TO MODIFY BOND AND PERMIT PRETRIAL RELEASE
         Defendant Ibraheem Izzy Musaibli, by his attorneys James R.

 Gerometta, Fabián Rentería Franco, and John A. Shea, brings this

 Motion to Modify Bond and Permit Pretrial Release, and in

 support says as follows:

         1.     Defendant is charged in a First Superseding Indictment

 with Providing/Attempting to Provide Material Support to a

 Foreign Terrorist Organization—18 U.S.C. §2339B (Count 1),

 Conspiracy to Provide/Attempt to Provide Material Support—18

 U.S.C. §2339B (Count 2), and Receipt of Military-Type Training

 from a Foreign Terrorist Organization—18 U.S.C. §2339D(a) (Count

 4). 1

         2.     On July 27, 2018, Defendant was arraigned on the

 initial indictment, and agreed to entry of a Consent Order of

 Detention Pending Trial/Hearing.       [ECF No. 11.]     He has been

 detained ever since.




 1The    Court dismissed Count 3 of the First Superseding Indictment.
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      3.    The Consent Order of Detention expressly provides that

 Mr. Musaibli “reserv[ed] his right to a full detention hearing

 before the magistrate judge,” and “no adverse findings are made

 against defendant” on account of his initial waiver of a

 detention hearing.     [ECF No. 11.]

      3.    Although for a time Mr. Musaibli was held at the

 Federal Detention Center in Milan, since his return from

 competency evaluations, approximately on or around May 1, 2020,

 he has been detained at Livingston County Jail.

      4.    At the Livingston County Jail, Mr. Musaibli was for a

 time held in general population.         (Mr. Musaibli previously was

 in general population at FDC-Milan and other federal BOP

 facilities.) Due to threats and hostility he faced over his

 religion at Livingston, he soon was moved into protective

 custody.   This was not necessary when he was detained at the

 FDC-Milan, because that facility houses a substantial Muslim

 population.

      5.    In the Livingston County Jail, “protective custody”

 means that Mr. Musaibli is locked down 22-23 hours per day.
 During his 1-2 hours when allowed out of his cell, he must

 attend to personal hygiene, he has limited access to a phone for

 calls with family, and he has limited recreation.          When in his

 cell, he essentially is cut off from the world; there is no

 television, radio, or other contemporaneous sources of news or

 entertainment.    This is the functional equivalent of what is

 often called solitary confinement.




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      6.     It is beyond dispute that solitary confinement--the

 isolation of a person for all but an hour or so a day--is very

 damaging to mental health.      Prolonged solitary confinement,

 meaning anything longer than a few weeks, has been associated

 with loss of brain function that may be irreversible.           See

 generally, Stuart Grassian, Psychiatric Effects of Solitary

 Confinement, 22 Wash. U. J. L. & Pol’y 325 (2006), available at

 https://perma.cc/XJY4-JAFL; Dana G. Smith, Neuroscientists Make
 a Case Against Solitary Confinement, Scientific American,

 11/9/18, https://perma.cc/3JJA-7H4J.

      7.     Although Mr. Musaibli’s competency evaluations

 concluded that he did not suffer from mental illness or

 neurological cognitive dysfunction, the reports did not find him

 to be the picture of mental health either.         Various symptomology

 of mental/emotional health disorders were described, and this

 was after weeks of observation in a general-population hospital

 setting.

      8.     Counsel have noted increasing emotional distress and

 deterioration in Mr. Musaibli’s overall mental functioning since

 his time at the LCJ.

      9.     Due to the nature of the charges, Mr. Musaibli is

 presumed to be a flight risk and a danger to the community if

 released.    18 U.S.C. § 3142(e)(3)(C).      However, those

 presumptions may be rebutted at a detention hearing, where the

 Court may consider conditions that mitigate flight risk and risk

 of criminal behavior.




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      10.    At such a hearing, the evidence would show that:
         •   Mr. Musaibli, born in Detroit, was raised in Dearborn
             and that remains his city of residence.
         •   His parents, siblings, and many of his extended family
             still live in Dearborn or nearby, and if he is
             released would support him with food, housing, and
             employment.
         •   This case represents Mr. Musaibli’s only involvement
             with the criminal justice system.
         •   But for the allegations in this case, Mr. Musaibli has
             never been accused of threatening or violent behavior
             directed at anyone.
         •   The unlawful behavior at issue in this case took place
             entirely overseas, in a war zone within the very
             turbulent Middle East. His alleged actions there do
             not translate into dangerousness domestically.
         •   While Mr. Musaibli has traveled internationally in the
             past, his passport was seized while he was overseas
             and currently he has no passport. If released, the
             Court certainly will bar him from obtaining a passport
             and the federal government has ample means of
             monitoring that.
         •   If released, the federal government also has ample
             means of monitoring Mr. Musaibli’s location and
             activities, including house arrest, GPS monitoring,
             and regular reporting.
      11.    At such a hearing, the presumption shifts the burden

 of production, not persuasion, to the defense.          United States v.

 Stone, 608 F.3d 939, 945 (6th Cir. 2010).        Defense counsel meets

 this burden by presenting evidence that Mr. Musaibli does not

 pose a danger to the community or a flight risk.          This burden

 “‘is not heavy’ * * * .”      Id.   Upon meeting it, the Government

 retains the burden of proof that no condition or combination of

 conditions reasonably will assure Mr. Musaibli’s appearance or

 community safety, Stone, supra, which standard of proof is by a




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 preponderance where the issue is risk of flight, and clear and

 convincing evidence if the issue is dangerousness.          18 U.S.C. §

 3142(f).

      12.     The defense has no objection to a hearing on this

 motion proceeding by proffer.

      WHEREFORE Defendant Ibraheem Izzy Musaibli requests that

 the Court reconsider the existing Consent Order of Detention,

 and enter an order of pretrial release with such conditions as

 the Court deems necessary and appropriate; or, alternatively, to

 remand this motion to the magistrate judge for its

 consideration.



 Dated:     April 8, 2021                    s/John A. Shea
                                             John A. Shea (P37634)
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                    Plaintiff,

 vs                                         Case No.   18-cr-20495
                                            HONORABLE DAVID M. LAWSON

 IBRAHEEM IZZY MUSAIBLI,

                  Defendant.
 ________________________________/


                      BRIEF IN SUPPORT OF MOTION
              TO MODIFY BOND AND PERMIT PRETRIAL RELEASE
      In support of his Motion to Modify Bond and Permit Pretrial

 Release, Defendant relies on the facts, statute, jurisprudence,

 and secondary materials cited therein.



 Dated:   April 8, 2021                      s/John A. Shea
                                             John A. Shea (P37634)
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                          CERTIFICATE OF SERVICE
      The undersigned hereby certifies that, on April 8, 2021, he

 electronically filed Defendant’s Motion to Modify Bond and

 Permit Pretrial Release, together with Brief in Support of same.

 Notice of this filing will be sent to all counsel of record by

 operation of the Court's electronic filing system.



 Dated:   April 8, 2021                      s/Fabián Rentería Franco
                                             Fabián Rentería Franco
                                             Attorney for Defendant
